
ORDER ON MANDATE
PER CURIAM.
WHEREAS, the judgment of this court was entered on February 18, 1975 (310 So.2d 374) reversing the sentence of the Circuit Court for Dade County, Florida, in the above styled cause; and
WHEREAS, on review of this court’s judgment, by certiorari, the Supreme Court of Florida by its opinion and judgment *43filed January 14, 1976 (327 So.2d 28) and mandate now lodged in this court, quashed this court’s judgment and remanded the cause with directions;
NOW THEREFORE, It is Ordered that the mandate of this court heretofore issued in this cause on March 26, 1975 is withdrawn, the judgment of this court filed February 18, 1975 is vacated, the said opinion and judgment of the Supreme Court of Florida is herewith made the opinion and judgment of this court, the sentence of the Circuit Court herein sought to be reviewed is reinstated and affirmed in accordance with the opinion of the Supreme Court of Florida in State v. Jones, 327 So.2d 18, Fla. 1976. Costs allowed shall be taxed in the trial court (Rule 3.16, subd. b, F.A.R.).
